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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                          TALLAHASSEE DIVISION


    FLORIDA STATE CONFERENCE OF
    BRANCHES AND YOUTH UNITS OF
    THE NAACP, et al.,             Case Nos.: 4:23-cv-215-MW/MAF
                                              4:23-cv-216-MW-MAF
                       Plaintiffs,            4:23-cv-218-MW-MAF
                         v.

    CORD BYRD, in his official capacity as
    Florida Secretary of State, et al.,

                          Defendants.



                     NAACP PLAINTIFFS’ MOTION TO
                 ADMIT CERTAIN EXHIBITS INTO EVIDENCE
         To facilitate and streamline trial presentation, NAACP Plaintiffs respectfully

request that this Court admit Plaintiffs’ Exhibits 85, 88, 96–107, 110, 111, 113–115,

120, 122, 124, 152, 160, 178, 236–245, 257, 258, and 757–759 into evidence.1

         I.    PLAINTIFFS’ EXHIBITS RELATED            TO   FLORIDA GOVERNMENT
               PROCEEDINGS AND STATEMENTS

               A. Plaintiffs’ Exhibits Related to Recent Legislation
         Plaintiffs move to admit Exhibits 98–107 and 111 into evidence, all of which

are Florida state government documents that pertain to legislation passed by the




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    Descriptions of each exhibit are attached to this motion as Appendix A (App. A).
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Florida legislature in the past five years touching on education and immigration.

Exhibits 98 through 106 relate to Florida’s recent overhaul of its education system,

which Plaintiffs argue shows a broader racial animus among Florida’s lawmakers.

See App. A at 2–4. Exhibits 107 and 111, meanwhile, address recent immigration

legislation that Plaintiffs argue shows a general animus against Hispanics and

immigrants. Defendants object to Exhibits 98–101, 103, 104, 107, and 111 solely on

relevance grounds. As for Exhibits 102 and 105–106, Defendants also raise

foundation objections. Defendants’ objections to these exhibits are baseless.

      These exhibits provide evidence of recent actions taken by Florida’s

government that arguably show racial animus from Florida’s legislators, and thus are

relevant to Plaintiffs’ Arlington Heights claim. Evidence is relevant if it has any

tendency to make a fact “of consequence in determining the action” “more or less

probable than it would be without the evidence.” Fed. R. Evid. 401. This Court

enjoys broad discretion in determining whether evidence is relevant. Cabello v.

Fernández-Larios, 402 F.3d 1148, 1161 (11th Cir. 2005). The Court in a bench trial

should “resolve all evidentiary doubts in favor of admissibility.” City of S. Miami v.

DeSantis, No. 19-CV-22927, 2020 WL 7074644, at *6 n.8 (S.D. Fla. Dec. 3, 2020)

(quotation omitted).

      In examining intentional discrimination claims, this Court must hew closely

to the present when examining a law’s historical precedent. League of Women Voters

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of Fla. Inc. v. Fla. Sec’y of State, 66 F.4th 905, 923 (11th Cir. 2023). These exhibits

highlight how, in the last five years, Florida’s government has approached racial

issues—which may corroborate that the legislature had race in mind when it passed

SB 7050. Indeed, this Court has compared Arlington Height’s multi-factor test to

Seurat’s A Sunday Afternoon on the Island of La Grande Jatte because “[o]ne dot of

paint on the canvas is meaningless, but when thousands of dots are viewed together,

they create something recognizable.” League of Women Voters of Fla., Inc. v. Lee,

595 F. Supp. 3d 1042, 1076 (N.D. Fla. 2022). These exhibits thus provide relevant

context regarding Florida’s legislative agenda as it pertains to race.

      Defendants’ foundation objections to Exhibits 102 and 105–106 are also

unfounded. Exhibit 102 is an official publication issued by a public authority, and is

thus self-authenticating under Fed. R. Evid. 902(5). And because Florida has

published these academic standards online, see ECF No. 244-1 at 17 (providing

URLs), its “selection of the posted information for publication . . . act[s] as the

necessary ‘seal of approval’ needed to establish that the information came from a

public authority for purposes of Rule 902(5),” Williams v. Long, 585 F. Supp. 2d 679,

689 (D. Md. 2008); see also Lorraine v. Markel Am. Ins. Co., 241 F.R.D. 534, 551

(D. Md. 2007) (explaining that “Rule 902(5) . . . [,] [w]hen combined with the public

records exception to the hearsay rule, Rule 803(8),” makes it easy to admit “official

publications posted on government agency websites . . . into evidence”). The same

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is true for Exhibits 105–106, which include a memorandum from the State Board of

Education and report detailing materials removed from Florida schools published on

the Department of Education’s website.

      In sum, Exhibits 98–107 and 111 are relevant and Exhibits 102 and 105–106

are self-authenticating. This Court should admit these exhibits into evidence.

             B. SB 7050 Legislative Analysis

      Defendants object on hearsay and foundation grounds to Exhibit 152, a

Florida House of Representative’s staff analysis for SB 7050, App. A at 6. For the

same reasons above, Exhibit 152 is self-authenticating. Indeed, Defendant Moody’s

Director of Legislative Affairs testified at her deposition that it is a public document.

Exhibit A, Dec. 19, 2023 Guzzo Deposition at 34:20–22; cf. Gubarev v. BuzzFeed,

Inc., 340 F. Supp. 3d 1304, 1309 n.5 (S.D. Fla. 2018) (“[C]ongressional reports are

self-authenticating pursuant to Rule of Evidence 902(5).”). Exhibit 152 is also

subject to Federal Rule of Evidence 803(8)’s public records exemption to hearsay,

which excepts records or statements “of a public office” that set out “the office’s

activities” without any indication of “a lack of trustworthiness.” Fed. R. Evid.

803(8). The Florida House is a public agency and Exhibit 152 sets out that agency’s

activities—namely, analyzing the potential merits of proposed legislation. Exhibit

152 is exempt from hearsay challenge and should be admitted.




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             C. State Agency Reports

      Exhibit 110 consists of the annual crime reports compiled by the Florida

Department of Law Enforcement. App. A. at 4. Defendants object on foundation and

relevance grounds. But as an online publication by a public authority, Exhibit 110 is

self-authenticating. Williams, 585 F. Supp. 2d at 689. And Exhibit 110 is relevant

because Plaintiffs will use it to show that immigrants are less likely to commit

crimes, undermining the alleged state interests underpinning the Citizenship

Requirement. For these reasons, this Court should admit Exhibit 110.

             D. Redistricting Data

      Exhibits 243–245, 257, and 258 are Florida redistricting records. App. A at 8–

9. Defendants object to all exhibits on relevance grounds and to Exhibits 243–245

for lack of foundation. These exhibits are relevant because (1) Florida’s political

geography will support expected testimony regarding where 3PVROs operate, and

(2) they help show the legislature’s knowledge of demographic trends in Florida over

the past decade, which provided the legislature a means and motive to discriminate

based on race. As to foundation, Exhibits 243–245 are self-authenticating public

records that were published on the Florida Senate’s official website. See ECF 244-1

at 43. This Court should admit Exhibits 243–245, 257, and 258 into evidence.

             E. Supervisor of Elections Records

      Exhibits 178 and 757–759 are records produced by various supervisors of

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elections. App. A. at 6, 9. Defendants object to these records on foundation and

hearsay grounds. Even setting aside that these documents are self-authenticating

public records, Plaintiffs received the documents from the supervisors in discovery,

and the supervisors have “certifie[d] the authenticity of the documents” they

produced in this case. ECF No. 244 at 26. Defendants’ foundation objection is thus

groundless.

      As to hearsay, these exhibits are exempt public records under Rule 803(8) as

both setting out an “office’s activities” and “a matter observed while under a legal

duty to report.” Fed. R. Evid. 803(8)(A)(i), (ii). Processing vote-by-mail requests is

part of the supervisors’ activities. Florida law also imposes a legal duty to report

such information. Fla. Stat. § 101.62(2). Exhibits 178, 757–759 should be admitted.

              F. Court Records

      Defendants object on relevance and hearsay grounds to Exhibit 97, the Florida

Second Judicial Circuit’s final order in state redistricting litigation. App. A at 1. Both

objections lack merit. The order is relevant as it shows that at least one court has

found (just months ago) that Florida violated provisions of the Florida Constitution

designed to protect minority voters. And the document is hearsay exempt under Rule

803(8)(A)(i) because it sets out the activity of the court—to adjudicate disputes

within its jurisdiction. This Court should therefore admit Exhibit 97 into evidence.




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             G. Department of State Records

      Defendants raise foundation and hearsay objections to Exhibit 160, a

slideshow bearing the Department of State’s seal. App. A at 6.

      Starting with foundation, this document is deemed authentic because the

Secretary produced it in discovery. Snyder v. Whittaker Corp., 839 F.2d 1085, 1089

(5th Cir. 1988) (documents produced by a party in discovery deemed authentic when

offered by the party-opponent); 31 Charles Alan Wright & Arthur R. Miller, Federal

Practice & Procedure: Evidence § 7105 (2d ed.) (“Authentication can also be

accomplished through judicial admissions such as . . . production of items in

response to . . . [a] discovery request.”). A portion of the Bates stamp “SB7050-SO”

is visible on each page of Exhibit 160, along with the confidentiality designation in

the bottom left corner, providing sufficient evidence of authenticity. Talavera v.

Glob. Payments, Inc., 670 F. Supp. 3d 1074, 1092 (S.D. Cal. 2023) (confidentiality

designations); Barefield v. Bd. of Trs. of Ca. State Univ., Bakersfield, 500 F. Supp.

2d 1244, 1258 (E.D. Cal. 2007) (Bates stamps).

      The exhibit is further exempt from hearsay as a statement of a party opponent

(Defendant Secretary). Taylor v. Keltch, No. 1:06-CV-705-WSD, 2007 WL 9701955,

at *3 (N.D. Ga. Jan. 31, 2007) (“Under [Rule]802(d)(2), admissions by a party-

opponent are not hearsay.”). The Court should admit Exhibit 160.




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      II.   PLAINTIFFS’ EVIDENCE RELATED             TO   FEDERAL GOVERNMENT
            PROCEEDINGS AND STATEMENTS

      A. Census Data

      Exhibits 236–242 contain U.S. Census Bureau data reflecting Florida’s

demographic composition. App. A at 6–8. For each exhibit, Defendants raise

foundation, hearsay, and relevance objections. This Court should overrule these

objections as unfounded.

      In the parties’ Joint Pretrial Statement, Defendants not only recognized that

this Court could take judicial notice of “US Census Bureau American Community

Survey Data,” but they affirmatively requested that this Court take notice of such

data. ECF No. 244 at 23–24. And the data is “not subject to reasonable dispute”

because, among other things, it can be “accurately and readily determined from

sources whose accuracy cannot reasonably be questioned.” Fed. R. Evid. 201(b)(2).

Thus, Defendants have stipulated that data drawn from the US Census Bureau’s

American Community Survey is both not subject to dispute and can readily be

determined from sources whose accuracy cannot reasonably be questioned. Such

evidence has the necessary foundation for admission.

      Even without the parties’ stipulated request, census data is self-authenticating

when it “contains the internet domain address from which the table was printed” and

that domain address is tied to a government website—as is the case with Exhibits

236, 239, 240, 241, and 242. U.S. E.E.O.C. v. E.I. DuPont de Nemours & Co., No.
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Civ. A. 03-1605, 2004 WL 2347559, at *2 (E.D. La. Oct. 18, 2004); see also

Williams, 585 F. Supp. 2d at 689 (“[T]he public authority’s selection of the posted

information for publication on its website will act as the necessary ‘seal of approval’

needed to establish that the information came from a public authority for purposes

of Rule 902(5).”). Courts thus routinely find U.S. Census Bureau data and

publications to be self-authenticating. DuPont de Nemours, 2004 WL 2347559, at

*2; see also Fair Hous. Ctr. of Sw. Mich. v. Hunt, No. 1:09-CV-593, 2011 WL

710666, at *3 (W.D. Mich. Feb. 23, 2011) (“Publications of the U.S. Bureau of

Census are self-authenticating”).

      Courts also regularly hold that U.S. Census data is “independently admissible

in a civil action under the public records exception to the hearsay rule.” Hunt, 2011

WL 710666, at *3; Huey v. Super Fresh/Sav-A-Ctr., Inc., No. CV 07-1169, 2009 WL

10736904, at *1 (E.D. La. Mar. 19, 2009) (admitting census data under Federal Rule

of Evidence 803(8)); DuPont de Nemours, 2004 WL 2347559, at *1 (same). So too

here, including Plaintiffs’ summary exhibits. Thomas v. Haslam, 303 F. Supp. 3d

585, 625–26 (M.D. Tenn. 2018) (rejecting objections to summary exhibits drawn

from census data).

      In short, Defendants have stipulated that this Court can take judicial notice of

census data, census data is self-authenticating, and census data is exempt from

hearsay challenges. The Court should admit exhibits 236–242 into evidence.

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      B. Federal Agency Records.

      Exhibits 85, 88, 96, 113–115, 120, 122, and 124 are records from various

federal agencies. App. A at 1, 4–6. Defendants object to Exhibits 85 and 88 on

authentication, foundation, and hearsay grounds, Exhibit 96 on relevance and

hearsay grounds, Exhibit 113 on hearsay grounds, Exhibit 114 on authentication,

foundation, and hearsay grounds, Exhibits 115, 120, 122, and 124 on foundation and

hearsay grounds.

      Exhibits 85, 88, 113–115, 120, 122, and 124 are all self-authenticating

publications of a public authority. See Gubarev, 340 F. Supp. 3d at 1309 n.5; see also

Williams, 585 F. Supp. 2d at 686–87 (“[I]t would not be novel to interpret Rule

902(5) to include the self-authentication of . . . legislative reports . . . [and]

commissioned studies.”). As for hearsay, Rule 803(8)(A)(iii) “provides an exception

from the hearsay rule in a civil case for factual findings from a legally authorized

investigation.” Gubarev, 340 F. Supp. 3d at 1309 n.5 (quotations omitted). This rule

applies to Exhibits 88, 96, 114, and 120, 122, 124 because each exhibit was prepared

by a federal agency after an investigation. Plus, these exhibits, along with Exhibits

113 and 115, are statements setting out their various authoring agencies “activities”

and are thus exempt from hearsay challenge. Fed. R. Evid. 803(8)(A)(i).

      Finally, Exhibit 96 is relevant because it shows that the Department of Justice

accused Florida of discriminating against Hispanic Floridians in voting as recently

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as 2002. The Eleventh Circuit has instructed that “cases from this century” are

relevant to evaluating racial intent. League of Women Voters, 66 F.4th at 922. Exhibit

96 is thus plainly relevant.

                                  CONCLUSION

      For these reasons, Plaintiffs respectfully request that this Court admit Exhibits

85, 88, 96–107, 110, 111, 113–115, 120, 122, 124, 152, 160, 178, 236–245, 257, 258,

and 757–759.

                    LOCAL RULE 7.1(B) CERTIFICATION

      Plaintiffs’ counsel conferred with counsel for the State Defendants on March

30, 2024; State Defendants oppose this motion.


                    LOCAL RULE 7.1(F) CERTIFICATION

      Undersigned counsel, Frederick Wermuth, certifies that this motion contains

2,272 words, excluding the case style and certifications.

Dated: March 31, 2024                       Respectfully submitted,

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Humberto Orjuela Prieto


                          CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on this 31st day of March 2024, I electronically

filed the foregoing with the Clerk of the Court by using the CM/ECF system, which

will send a notice of electronic filing to all counsel of record.

                                        /s/ Frederick S. Wermuth
                                        Frederick S. Wermuth
                                        Florida Bar No. 0184111




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                                APPENDIX A
Exhibit 85
     Title: Off. Immigr. Stat., Lawful Permanent Residents (LPR), U.S. Dep’t of
     Homeland Sec., at 2022 Data Tables
     Description: 2023 report by the Department of Homeland Security about
     legal permanent residents in the United States
     Objections: Authentication, Foundation, Hearsay
Exhibit 88
     Title: U.S. Citizenship & Immigr. Servs., Count of Active DACA Recipients
     By Country of Birth as of September 30, 2022, U.S. Dep’t of Homeland Sec.
     (Sept. 30, 2023) (table located at page 2 of linked document)
     Description: Department of Homeland Security, Citizenship and
     Immigration Services chart showing the number of DACA recipients as of
     September 30, 2022
     Objections: Authentication, Foundation, Hearsay
Exhibit 96
     Title: Letter from Ralph F. Boyd, Jr., Assistant Att’y Gen. to John M.
     McKay, President, Fla. State Senate & Tom Feeney, Speaker of House, Fla.
     State H.R., at 2
     Description: 2002 letter from the Department of Justice to Florida’s Senate
     President addressing redistricting
     Objections: Relevance, Hearsay
Exhibit 97
     Title: Final Order After Hearing & Final Judgment at 12-13
     Description: Florida Second Judicial Circuit’s final order in Black Voters
     Matter Capacity Building Institute et al. v. Byrd et al., Case No. 2022-CA-
     666.
     Objections: Relevance, Hearsay
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Exhibit 98
     Title: Executive Order 19-32, Fla. Off. of the Governor (Jan. 31, 2019)
     Description: January 2019 executive order setting civics education
     standards.
     Objections: Relevance
Exhibit 99
     Title: The “Florida Joint Center for Citizenship, the Bill of Rights, Institute,
     Hillsdale College, the Gilder Lehrman Institute of American History,
     iCivics, and the Constitutional Sources Project.” Fla. H.B. 807, 2019 Leg.,
     Reg. Sess.
     Description: Engrossed HB 807, which permits the Commissioner of
     Education to consult with the Florida Joint Center for Citizenship, the Bill of
     Rights Institute, Hillsdale College, the Gilder Lehrman Institute of American
     History, iCivics, and the Constitutional Sources 45 Project in creating civics
     education curriculum in Florida
     Objections: Relevance
Exhibit 100
     Title: Governor Ron DeSantis Speaks at Moms for Liberty Convention, C-
     SPAN (June 30, 2023)
     Description: Video of Governor DeSantis speaking at a “Moms for Liberty”
     meeting.
     Objections: Relevance
Exhibit 101
     Title: Staff, Governor Ron DeSantis Appoints Six to the New College of
     Florida Board of Trustees, Ron DeSantis 46th Governor of Fla. (Jan. 6,
     2023)
     Description: Press release stating that Governor DeSantis has appointed six
     new members to the New College’s board of trustees.

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     Objections: Relevance
Exhibit 102
     Title: Florida State Academic Standards – Social Studies, 2023, Fla. Dep’t of
     Educ., at 39, 47, 55
     Description: 2023 Florida academic standards for social studies, which
     Plaintiffs argue intentionally passes over the effects of Jim Crow
     discrimination.
     Objections: Foundation, Relevance
Exhibit 103
     Title: Fla. H.B. 1557, 2022 Leg., Reg. Sess.
     Description: Legislative history of HB 1557
     Objections: Relevance
Exhibit 104
     Title: Fla. H.B. 1467, 2022 Leg., Reg. Sess.
     Description: Legislative history of HB 1467
     Objections: Relevance
Exhibit 105
     Title: Memorandum to School District Superintendents re H.B. 1467, Fla.
     Dep’t of Educ. (June 3, 2023)
     Description: Memorandum to Florida’s school district superintendents
     implementing HB 1467.
     Objections: Foundation, Relevance
Exhibit 106
     Title: 2022-2023 School District Reporting Pursuant to Section 1006.28(2)
     Fla. Stat., Fla. Dep’t of Educ.
     Description: Report of materials removed from Florida Schools based on
     parental objections.
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     Objections: Foundation, Relevance
Exhibit 107
     Title: 4/17/19 Press Conference on H.B. 527 [the House equivalent of S.B.
     168] Sanctuary Cities [Video], Fla. Channel (Apr. 17, 2019)
     Description: Press conference on HB 527, which bans so-called “sanctuary
     cities.”
     Objections: Relevance
Exhibit 110
     Title: All Florida crime statistics are from reports of the Florida Department
     of Law Enforcement. Uniform Crime Reports (UCR) Annual Archives, Fla.
     Dep’t L. Enf’t
     Description: Annual crime reports compiled by the Florida Department of
     Law Enforcement.
     Objections: Foundation, Relevance
Exhibit 111
     Title: Staff, Governor Ron DeSantis Signs Strongest anti-Illegal Immigration
     Legislation in the County to Combat Biden’s Border Crisis, Ron DeSantis
     46th Governor of Fla. (May 10, 2023)
     Description: Press release from the Governor’s office stating in part
     “Governor Ron DeSantis Signs Strongest anti-Illegal Immigration
     Legislation in the County.”
     Objections: Relevance
Exhibit 113
     Title: U.S. Citizenship & Immigr. Servs., Green Card, U.S. Dep’t of
     Homeland Sec.
     Description: Webpage maintained by Citizenship and Immigration Services
     that provides information about green cards.

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     Objections: Hearsay
Exhibit 114
     Title: Irene Gibson, Annual Flow Report, 2021, U.S. Lawful Permanent
     Residents at 1, U.S. Dep’t of Homeland Sec.
     Description: 2021 report by the Department of Homeland Security about
     legal permanent residents in the United States
     Objections: Authentication, Foundation, Hearsay
Exhibit 115
     Title: U.S. Citizenship & Immigr. Servs., Welcome to the United States, U.S.
     Dep’t of Homeland Sec., at 14 (Sept. 2015)
     Description: Citizenship and Immigration Services guide for new
     immigrants
     Objections: Foundation, Hearsay
Exhibit 120
     Title: Bryan Baker, Estimates of the Lawful Permanent Resident Population
     in the United States and the Subpopulation Eligible to Naturalize: 2015-2019
     at 3, 6, U.S. Dep’t Homeland Sec.
     Description: Department of Homeland Security report about lawful
     permanent residents in the United States eligible to naturalize
     Objections: Foundation, Hearsay
Exhibit 122
     Title: Temporary Protected Status and Deferred Enforced Departure at 23,
     Cong. Rsch. Serv. (July 28, 2023)
     Description: Congressional Research Service report about temporary
     protected status and deferred enforced departure
     Objections: Foundation, Hearsay



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Exhibit 124
     Title: Irene Gibson, Annual Flow Report, 2021, U.S. Lawful Permanent
     Residents at 6, U.S. Dep’t of Homeland Sec.
     Description: Department of Homeland Security report about lawful
     permanent residents
     Objections: Foundation, Hearsay
Exhibit 152
     Title: House of Representatives Staff Analysis
     Description: Florida House of Representative’s staff analysis for SB 7050
     Objections: Foundation, Hearsay
Exhibit 160
     Title: Florida Department of State Voter Registration Entities Overview for
     Supervisors of Elections’ Offices
     Description: Slideshow bearing the Department of State’s seal and titled
     “Voter Registration Entities Overview for Supervisors of Elections’ Offices.”
     Objections: Foundation, Hearsay
Exhibit 178
     Title: Excerpts of vote-by-mail request records that were produced and
     deemed confidential by the Supervisors of Elections for Brevard, Monroe,
     Pasco, Levy, and Polk counties in discovery
     Description: Vote-by-mail request records
     Objections: Foundation, Hearsay
Exhibit 236
     Title: ACS Special Tabulation for Black CVAP for the years 2008-2012 and
     2018-2022


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      Description: Census data
      Objections: Foundation, Hearsay, Relevance
Exhibit 237
      Title: Comparison of the 2010 and 2020 Census by County – AP Black
      Description: Fed. R. Evid. 1006 Summary chart of census data.1
      Objections: Foundation, Hearsay, Relevance
Exhibit 238
      Title: Comparison of the 2010 and 2020 Census by County – Latino
      Description: Summary chart of census data
      Objections: Foundation, Hearsay, Relevance
Exhibit 239
      Title: Comparison of the 2020 and 2022 Census by County – AP Black
      Description: Census data
      Objections: Foundation, Hearsay, Relevance
Exhibit 240
      Title: Comparison of the 2020 and 2022 Census by County – Latino
      Description: Census data
      Objections: Foundation, Hearsay, Relevance




1
   The underlying data for Exhibits 237 and 238 were drawn from the Census
Bureau’s    website    at   https://www.census.gov/programs-surveys/decennial-
census/about/rdo/summary-files.2010.html#list-tab-489208232               and
https://www.census.gov/programs-surveys/decennial-census/about/rdo/summary-
files.html#P1.

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Exhibit 241
     Title: ACS Special Tabulation for Latino CVAP for the years 2008-2012 and
     2018-2022
     Description: Census data
     Objections: Foundation, Hearsay, Relevance
Exhibit 242
     Title: 2018 – 2022 ACS 5-Year Estimates for Hispanic or Latino Origin by
     Specific Origin
     Description: Census data
     Objections: Foundation, Hearsay, Relevance
Exhibit 243
     Title: 2012 Redistricting Demographic Profiles
     Description: Chart showing Florida’s demographic makeup during Florida’s
     2012 redistricting cycle
     Objections: Foundation, Relevance
Exhibit 244
     Title: 2012 District by County – Statistics Spreadsheet
     Description: Chart showing Florida’s demographic makeup during Florida’s
     2012 redistricting cycle
     Objections: Foundation, Relevance
Exhibit 245
     Title: 2012 District Summary Population Report
     Description: Chart showing Florida’s demographic makeup during Florida’s
     2012 redistricting cycle
     Objections: Foundation, Relevance


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Exhibit 257
     Title: 2016-2022 Redistricting Statewide Map
     Description: Map reflecting state senate districts
     Objections: Relevance
Exhibit 258
     Title: 2022-2032 Redistricting Statewide Map
     Description: Map reflecting state senate districts
     Objections: Relevance
Exhibit 757
     Title: VBM Requests by Immediate Family for 2018 Primary Election
     Description: Vote-by-mail request records
     Objections: Foundation, Hearsay, confidential
Exhibit 758
     Title: VBM Requests by Immediate Family for 2020 Preference Primary
     Description: Vote-by-mail request records
     Objections: Foundation, Hearsay
Exhibit 759
     Title: VBM Requests by Immediate Family for 2022 General Election
     Description: Vote-by-mail request records
     Objections: Foundation, Hearsay




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